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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                              TYLER DIVISION

 NETWORK-1 TECHNOLOGIES, INC.

                Plaintiff,
                                                  CASE NO. 6:13-cv-072-RWS
 vs.
                                                  JURY TRIAL DEMANDED
 HEWLETT-PACKARD COMPANY AND
 HEWLETT PACKARD ENTERPRISE
 COMPANY

                Defendants.


                          Network-1 Technologies, Inc.’s
                 renewed motion for judgment as a matter of law and
                          motion for new trial on validity

                              [originally filed under seal]
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 Ex. 1             U.S. Patent No. 6,218,930, trial exhibit P1 (’930 patent)
 Ex. 2             HP-Dkt. 1 74 – 11/6/2017 trial transcript
 Ex. 3             HP-Dkt. 75 – 11/7/2017 am trial transcript
 Ex. 4             HP-Dkt. 76 – 11/7/2017 pm trial transcript
 Ex. 5             HP-Dkt. 80 – 11/9/2017 trial transcript
 Ex. 6             HP-Dkt. 82 – 11/10/2017 am trial transcript
 Ex. 7             HP-Dkt. 83 – 11/10/2017 pm trial transcript
 Ex. 8             HP-Dkt. 84 – 11/13/2017 trial transcript
 Ex. 9             HP-Dkt. 85 – 11/8/2017 trial transcript [redacted]
 Ex. 10            DX89 – Fisher photographs
 Ex. 11            DX119 – U.S. Patent 5,345,592 (Woodmas)
 Ex. 12            DX123 – WO 98/54843 (Fisher international)
 Ex. 13            DX138 – U.S. Patent 6,496,105 (Fisher ’105)
 Ex. 14            DX139 – U.S. Patent 6,710,704 (Fisher ’704)
 Ex. 15            DX144 – U.S. Patent 5,991,885 (Chang)
 Ex. 16            DX157 – U.S. Patent 5,994,998 (Fisher ’998)
 Ex. 17            DX500 – Fisher system photographs
 Ex. 18            Dkt. 2 693 – Claim construction report and recommendation
 Ex. 19            Dkt. 811-2 – Invalidity contentions
 Ex. 20            Dkt. 811-5 – Petition for IPR
 Ex. 21            Dkt. 811-9 – IPR Final Written Decision
 Ex. 22            Dkt. 832 – “Driving points” order
 Ex. 23            Dkt. 860 – Claim construction order
 Ex. 24            Dkt. 921 – Order overruling objections to “driving points” order
 Ex. 25            Dkt. 1047-1 – Final election of prior art
 Ex. 26            Dkt. 1050 – Order denying motion to strike litigation settlement agreements
 Ex. 27            Dkt. 1064 – Order denying Daubert re: “secondary power source”
 Ex. 28            Dkt. 1068 – Order granting MSJ re: estoppel
 Ex. 29            Neikirk amended invalidity report

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            “HP-Dkt.” refers to the docket in Network-1 Technologies, Inc. v. Hewlett-Packard
 Company and Hewlett Packard Enterprise Company, severed case 6:13-cv-00072.
          2
            “Dkt.” refers to the docket in Network-1 Technologies, Inc. v. Alcatel-Lucent USA Inc.,
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 Ex. 31        Copyright Office Circular 40A
 Ex. 32        Email from HP’s counsel – 11/5/2017




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 I.     Introduction.

        Network-1 moves the Court for an order concluding as a matter of law that the asserted

 claims were not obvious, renews its motion for judgment as a matter of law of validity, and

 moves for an order conditionally granting new trial on validity.

        HP’s invalidity case was limited to a single theory of obviousness. Obviousness remains

 a question of law for the Court to decide. That question should be decided in Network-1’s favor.

        “It is black letter law that the ultimate question of obviousness is a question of

 law.” Richardson-Vicks Inc. v. Upjohn Co., 122 F.3d 1476, 1479 (Fed. Cir. 1997). The Court

 must “accept the factual findings, presumed from a favorable jury verdict, which are supported

 under the substantial evidence/reasonable juror standard,” but the Court remains “the ultimate

 decision maker on the question of obviousness.” Id. “Where, as here, the jury made no explicit

 factual findings regarding obviousness, [the Court] must determine whether the implicit findings

 necessary to support the verdict are supported by substantial evidence.” Fresenius USA, Inc. v.

 Baxter Int’l, Inc., 582 F.3d 1288, 1294 (Fed. Cir. 2009).

        For five reasons, the Court should conclude that the claims of the ’930 patent were not

 obvious and enter a judgment of validity as a matter of law.

        (1) HP’s obviousness combination was estopped. HP brought an inter partes review that

 resulted in all claims of the ’930 patent being confirmed as valid. HP was therefore estopped

 from asserting any ground for invalidity it raised or reasonably could have raised in that IPR,

 including obviousness based on a combination of Fisher, Woodmas, and Chang patents.

 Following the IPR, HP was unable to find any new prior art patents or publications that could not

 have been included in its IPR petition. So HP took the prior art it already had—the Fisher,

 Woodmas, and Chang patents—and added the “Fisher system” (because a “system” cannot be

 presented in an IPR and is generally not subject to estoppel). But for a “system” to be prior art, it

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 must have been publicly sold or used. The “Fisher system” was not. It was never sold or

 commercialized, and never used in public. Its only use was by Dr. Fisher in his internal

 testing—i.e., in private, not in public. Accordingly, the only prior art in HP’s asserted

 combination was the Fisher, Woodmas, and Chang patents, which HP is estopped from asserting.

        (2) HP’s obviousness combination was uncorroborated. HP’s reliance on the Fisher

 system fails for a second, independent reason: HP never corroborated Dr. Fisher’s testimony that

 the system was in use—even privately—or that it actually included the claimed functionality.

        (3) HP’s obviousness combination is missing key elements. HP’s asserted combination

 also fails because it is missing three important elements. First, as HP’s expert Dr. Neikirk

 admitted, there is no “low level current” in the asserted prior art. Ex. 7 at 54:7-13 (“I cannot

 conclude that [the patent] is obvious … because of that one missing element [a low level

 current].”). Second, there is no “secondary power source.” In fact, Dr. Neikirk did not even

 attempt to show that this element—and its construed requirements—was present in the asserted

 prior art. And third, HP presented no evidence of a “main power source” that performs the two

 required functions: (1) supplying power to the data node and (2) delivering a low level current

 from the main power source to the access device.

        (4) HP failed to show a reason to combine. HP asserted that two of its references would

 be combined because the resulting system would be “simpler.” There was no further

 explanation. Under controlling law, this conclusory assertion was legally insufficient to meet

 HP’s burden of proving a reason to combine the asserted references. Moreover, HP cannot meet

 its burden because the Chang patent expressly teaches away from the ’930 invention.

        (5) The objective evidence precludes a conclusion of obviousness. Objective evidence of

 validity must always be considered and can be decisive. Each of HP’s major competitors

 licensed the ’930 patent, collectively paying over $100 million. This was powerful, unrebutted

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 objective evidence of non-obviousness, and it overrides HP’s failed combination of references.

        For the same reasons a validity judgment should be entered, the verdict was against the

 great weight of the evidence and the Court should conditionally grant a new trial. Fed. R. Civ. P.

 50(c)(1). Moreover, a new trial is also warranted because HP made highly improper arguments.

        During its closing, HP purported to relay to the jury the contents of a private, pre-trial

 conversation between HP’s counsel and HP’s expert, Nicholas Godici. According to HP, Mr.

 Godici—a former commissioner for patents—told HP’s counsel that “he could not believe how

 much prior art and how much evidence this case had with respect to this patent being invalid,”

 and that he had “never seen this much prior art in any case before.” Ex. 8 at 123:14-18, 132:23-

 133:1. That conversation never happened and those words were never spoken by Mr. Godici—

 certainly not at trial. Indeed, Mr. Godici was not designated as an invalidity expert and did not

 provide any testimony about the validity of the ’930 patent, much less say that he had never

 before seen so much invalidating prior art for a patent that had withstood two reexaminations and

 three IPRs. Moreover, HP went on in its closing to assert a brand new theory—never before

 disclosed and not presented at trial—that the Cummings patent discloses the “low level current”

 that was missing from HP’s asserted combination of references. Id. at 131:20-132:1. HP’s

 improper arguments were made knowingly and deliberately, they were false, and they were

 highly prejudicial. They independently warrant a new trial.

 II.    The Court should rule that HP failed to prove the asserted claims of the ’930 patent
        were obvious and should enter judgment of validity as a matter of law.

        A.      HP failed to prove that the Fisher system is prior art and, as a result, HP was
                estopped from asserting the remaining obviousness combination.

        At trial, HP asserted obviousness based on the combination of “the Fisher patents, the

 Fisher system, Woodmas, and Chang.” Ex. 8 (jury instructions) 63:15-17. The combination thus

 included: (1) a collection of patents issued to Fisher, Woodmas, and Chang, and (2) “the Fisher

                                                  3
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 system.” The Fisher system is not prior art. It is undisputed that the system was never sold,

 publicly used, or otherwise made available to the public. Moreover, HP failed to provide any

 corroboration—not a single document, and no system or component demonstration—for Dr.

 Fisher’s testimony about the core functionality that the system was alleged to include. Without

 the Fisher system, what is left is the collection of patents—a collection that HP was estopped

 from asserting. Accordingly, the obviousness combination fails as a matter of law and cannot

 support the verdict of invalidity.

                1.      The Fisher system is not prior art because HP failed to meet its
                        burden of showing that the Fisher system was in “public use.”

        HP did not contend the Fisher system was ever sold. HP instead contended that the

 Fisher system was prior art because it had been “in public use” by Dr. Fisher. See Ex. 7 (Neikirk
                             3
 direct) 22:7-9, 182:5-16.       Thus, for the system to be prior art, HP had to prove it was “in public

 use prior to the critical date.” Delano Farms Co. v. California Table Grape Comm’n, 778 F.3d

 1243, 1250 (Fed. Cir. 2015); 35 U.S.C. § 102(a) & (b).

        To prove public use, HP had to provide clear and convincing evidence that use of the

 Fisher system was “accessible to the public.” Woodland Trust v. Flowertree Nursery, Inc.,

 148 F.3d 1368, 1370 (Fed. Cir. 1998) (applying § 102(a)); Dey, L.P. v. Sunovion Pharm., Inc.,

 715 F.3d 1351, 1354-55 (Fed. Cir. 2013) (“public use” under § 102(b) is use that “(1) was

 accessible to the public; or (2) was commercially exploited.”). 4

        For a system to be “accessible to the public,” members of the public must be allowed to


        3
           Ex. 32 (“For the Fisher system, it is prior art under 35 USC § 102(a) & § 102(b).”).
 Section 102 refers to the pre-AIA version of 35 U.S.C. § 102 which applies because the ’930
 patent application was filed before March 16, 2013.
         4
           There was no contention or evidence at trial that the Fisher system was “commercially
 exploited.” Dr. Fisher did not contend that his system was ever sold, advertised, or
 commercialized in any way. Thus, only the “accessible to the public” prong of this test applies.

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 see it in use. For example, public use occurs when executives from other companies are invited

 to view a public demonstration of all patent-practicing features of the system, Clock Spring, L.P.

 v. Wrapmaster, Inc., 560 F.3d 1317, 1325 (Fed. Cir. 2009), or when the system is demonstrated

 for a journalist to gain favorable press, Harrington Mfg. Co., Inc. v. Powell Mfg. Co., 815 F.2d

 1478, 1481 (Fed. Cir. 1986). In contrast, a company’s internal testing of a system “is insufficient

 to create a public use.” Invitrogen Corp. v. Biocrest Mfg., L.P., 424 F.3d 1374, 1383 (Fed. Cir.

 2005). Indeed, that is the very point of such testing—to test the technology inside the walls of

 the company offices and outside the view of competitors and the public.

        HP did not have and did not present any evidence at trial that the Fisher system or its use

 was ever “accessible to the public.” Instead, HP presented testimony from Dr. Fisher that his

 own use of the system was internal, not public.

        Dr. Fisher testified that he developed his system while working and doing research for

 3Com (a company HP bought), Ex. 6 at 123:14-24, 137:8-25, and that he tested the system inside

 the 3Com offices, id. at 131:16-19 (“to test it, we would, you know, plug that in, stick this into

 the front of the hub, and then take the 10BaseT wiring that was in the building and plug it in”).

 Dr. Fisher did not testify that he had ever shown his system to anyone outside of 3Com, such as

 to other companies, journalists, or the IEEE task force. Id. at 138:1-8. Dr. Fisher’s testimony

 about his own internal testing is the only evidence that HP—through its invalidity expert—cited

 to support the contention that there was public use of the Fisher system. Ex. 7 at 22:7-14 (“Dr.

 Fisher told us this morning that they built a system, they plugged it into the network at their

 offices and used it.”). As a matter of law, this internal testing was not a public use. Invitrogen,

 424 F.3d at 1383 (“that Invitrogen secretly used the cells internally to develop future products

 that were never sold, without more, is insufficient to create a public use bar to patentability”). At

 most, Dr. Fisher’s testimony established that the system was tested by him at the 3Com offices.

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 That would be a private use, not a public use.

        No other witness—lay or expert—provided any testimony that would even suggest, much

 less establish by clear and convincing evidence, that any use of the Fisher system “occurred in

 public,” or that the public had “access to and knowledge” of its use. See Dey, L.P. v. Sunovion

 Pharm., Inc., 715 F.3d 1351, 1355 (Fed. Cir. 2013).

        When confronted with this problem pre-verdict, HP asserted that one of the components

 of the Fisher system, an access point circuit board, bears the mark “Copyright 1996.” This mark,

 according to HP, “indicat[ed] that the copyright office had reviewed it and that it was available,”

 and therefore in “public use.” Ex. 7 at 182:11-16. That is wrong on multiple levels.

        First, marking a component with a copyright notice does not create an inference that the

 component was ever shown to, or registered with, the Copyright Office. “Registration with the

 Copyright Office is permissive; it is not required before adding the symbol on a work that

 qualifies for copyright protection.” Baby Buddies, Inc. v. Toys R Us, Inc., 611 F.3d 1308, 1321

 n.20 (11th Cir. 2010); 17 U.S.C. § 408(a) (“Registration Permissive…[T]he owner of copyright

 … may obtain registration of the copyright claim…[R]egistration is not a condition of copyright

 protection.”). Moreover, registering an item with the Copyright Office creates a public record of

 the registration, including an application for registration and a certificate of registration. 17

 U.S.C. § 408, § 410(a). HP introduced no evidence of registration; and that absence of proof is

 itself strong evidence that no registration took place.

        Second, had the circuit board component been registered, the board itself would not have

 been sent to the Copyright Office. 5 Moreover, registering the copyright to the circuit board


        5
          The Copyright Office does not ask for deposits of three-dimensional useful articles
 (such as a circuit board), much less an entire system that uses that useful article. 37 C.F.R. §
 202.19 (“The following categories of material are exempt from the deposit requirements … (6)

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 would not be evidence that the entire Fisher system (i.e., all the other components) had also been

 sent to the Copyright Office and then fired up and used by the Copyright Office employees.

          Third, had the circuit board component been sent to the Copyright Office, there is no

 evidence that the administrative employees at the Copyright Office—having no required

 technical background—went out and purchased or otherwise acquired the other components

 necessary for the Fisher system to function, connected them all together (without any

 instructions) to recreate Dr. Fisher’s system, and then used the system.

          HP failed to present any evidence that there was any public use of the Fisher system

 because there is no such evidence. The system was never publicly used and, therefore, as a

 matter of law, is not prior art. Invitrogen Corp. v. Biocrest Mfg., L.P., 424 F.3d 1374, 1383 (Fed.

 Cir. 2005); Allied Colloids, Inc. v. American Cyanamid Co., 64 F.3d 1570, 1574 (Fed. Cir.

 1995).

                 2.      HP failed to corroborate Dr. Fisher’s testimony that the system was
                         used and that it had the key functionality he described.

          To rely on a system as prior art, HP must present evidence “corroborative of [Dr.

 Fisher’s] use of the claimed invention.” Finnigan Corp. v. Int'l Trade Comm’n, 180 F.3d 1354,

 1369 (Fed. Cir. 1999) (emphasis in original). Dr. Fisher testified that he used a “Fisher system”

 that would “detect whether or not [an access device] was an Ethernet or a PoE” in 3Com’s

 offices prior to the critical date. Ex. 6 at 135:24-136:14. Therefore, HP was required to present

 evidence that this “Fisher system” (1) actually was used prior to the critical date and (2) included


 … any useful article.”). Instead, what is required is “identifying material” (e.g., a drawing or
 photograph of the board layout). See 37 C.F.R. § 202.20 (xi)(A)(1); 37 C.F.R. § 202.2; Ex. 31.
 A drawing or photograph is all that is needed because only the visual layout of the board, that
 exists independently of its function, is copyrightable. See Star Athletica, L.L.C. v. Varsity
 Brands, Inc., 137 S. Ct. 1002, 1008 (2017). A drawing or photograph of a circuit board cannot
 be a public use of a system because it cannot be “used” (e.g., a drawing of a circuit board cannot
 detect a Power-over-Ethernet access device).

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 the functionality upon which HP relied in its obviousness case. Finnigan, 180 F.3d at 1367 (“a

 witness’s uncorroborated testimony is equally suspect as clear and convincing evidence if he

 testifies concerning the use of the invention in public before invention by the patentee (§ 102(a)),

 [or] use of the invention in public one year before the patentee filed his patent (§ 102(b))”);

 Martek Biosciences Corp. v. Nutrinova, Inc., 579 F.3d 1363, 1375 n.4 (Fed. Cir. 2009).

        The supposed use of the Fisher system in 3Com’s offices was testified to by Dr. Fisher,

 but was never corroborated by any other witness or exhibit. There was also no corroboration of

 Dr. Fisher’s testimony that the “Fisher system” actually included the functionality he said it had

 (much less that this functionality was ever publicly used).

        Dr. Fisher testified that his system would supply power to an “access point” by using an

 “authentication server” and “hub” that performed a “staged powering up” with a “current limit,”

 and an “authentication process” that would “keep the power limited” during authentication, and

 then increase power. 6 HP provided no corroboration for Dr. Fisher’s testimony that his system

 could perform these functions, much less that such a system was ever in public use—not a single

 document, not a single word of testimony from a colleague of Dr. Fisher’s, not a single second of

 demonstrating how the collection of components that supposedly formed part of the Fisher

 system did what Dr. Fisher said they did.

        Instead, HP displayed on counsel’s table the access point and related components that Dr.

 Fisher brought to his deposition. Ex. 17; Ex. 6 (Fisher) 128:24-131:19 (“Those are the access


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          Ex. 6 at 132:2-24 (describing the “staged powering up,” “current limit,” “authentication
 process,” and ability to “increase the power limit.”); id. at 132:25-133:12 (they would “keep the
 power limited during the initial association and authentication”); id. at 140:9-19; id. at 141:6-13
 (describing authentication); id. at 141:21-142:13; id. at 131:16-19 (one part would be stuck into
 “the hub”); id. 140:9-19 (testifying about the operation of the switch in the Fisher system); id. at
 140:20-26 (the data would be sent back to the “security server” in the “detection system that [Dr.
 Fisher] invented”).

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 point motherboard, the access point, and the access point mounting bracket”). Missing from this

 collection: the authentication server and the hub/switch that supposedly performed the staged

 power up, detection, and authentication functions about which Dr. Fisher testified. The few

 dormant components produced by Dr. Fisher did not corroborate the functionality of any system,

 much less the functions to which he testified.

        What is worse, the access point components that Dr. Fisher brought to his deposition and

 that HP displayed at trial did not even relate to the system that supposedly had the staged power

 up, detection, and authentication functions. Those functions were supposedly present in the

 second generation of Dr. Fisher’s system, whereas the components presented were from the first

 generation of the system, which Dr. Fisher admitted did not include those functions. Ex. 6 at

 131:6-15, 135:24-136:14 (“this was a prototype that existed prior to us building it into the

 hub…there’s pieces that I don’t have here, which was the second generation of this stuff, that

 would detect whether or not it was an Ethernet or a PoE…I don’t have that with me”).

        Indeed, not only did HP fail to present evidence corroborating its claim that the Fisher

 system was in public use and included an authentication method akin to the ’930 patent’s “low

 level current” detection, HP actually introduced evidence to the contrary—in the form of the

 Fisher patents. Fisher and 3Com had every incentive to disclose all important elements of their

 system in their patent applications, both to allow for the broadest patent protection, and because
                                                               7
 it was required at the time by the “best mode” requirement.       Therefore, if the staged power up,

 detection, and authentication functions to which Dr. Fisher testified were actually in the system

 he had developed, it is highly likely that those functions would have been mentioned in the

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          35 U.S.C. § 112 (pre-AIA) (“The specification … shall set forth the best mode
 contemplated by the inventor of carrying out his invention”); Chemcast Corp. v. Arco Indus.
 Corp., 913 F.2d 923, 930 (Fed. Cir. 1990) (patent is invalid “where the inventor has failed to
 disclose the only mode he ever contemplated of carrying out his invention”).

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 Fisher patents. But none of Fisher’s patents says anything about those functions. Ex. 6 (Fisher)

 136:20-137:7; Ex. 12; Ex. 13; Ex. 14; Ex. 16.

        Accordingly, because HP failed to introduce evidence corroborating any use of the Fisher

 system or its key functionality, it cannot server as an invalidating prior art reference. Finnigan

 Corp. v. Int’l Trade Comm’n, 180 F.3d 1354, 1369-70 (Fed. Cir. 1999) (“This testimony is…not

 corroborative of Jefferts’ use of the claimed invention.…[W]hat we are left with is Jefferts’

 testimony concerning his alleged public use,” which is “insufficient as a matter of law to

 establish invalidity of the patent.”); Rosco, Inc. v. Mirror Lite Co., 120 F. App’x 832, 837 (Fed.

 Cir. 2005) (“None of the evidence relied upon by the trial court provided sufficient corroboration

 that Exhibit 110 has [the claimed limitation] … [T]here was no basis for a finding of invalidity in

 the absence of such proof.”).

                3.      HP is estopped from asserting the combination that remains once the
                        Fisher system is disqualified for not being prior art.

        Once the Fisher system is removed from HP’s asserted combination because it is not

 prior art, HP’s remaining combination consists of the Fisher patents, Woodmas, and Chang. HP

 is estopped from asserting that combination.

        If an inter partes review is instituted and the petitioner loses in a Final Written Decision,

 the petitioner “may not assert . . . in a civil action … that the claim is invalid on any ground that

 the petitioner raised or reasonably could have raised during that inter partes review.” 35 U.S.C.

 § 315 (e)(2). HP filed an IPR petition that resulted in a Final Written Decision that all claims of

 the ’930 patent are valid. Ex. 20; Ex. 21. HP was aware of the Fisher patents, Woodmas, and

 Chang before filing its IPR, because HP disclosed each reference in its invalidity contentions.

 Ex. 19 at 3, 5, 6, 11, 13, 14. Therefore, as the Court held in its summary judgment order on

 estoppel, HP reasonably could have raised the combination during the inter partes review:


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        HP disclosed each reference in its invalidity contentions on December 19, 2012
        (Docket No. 811-2)—almost eight months before HP filed its IPR on August 6,
        2013 (Docket No. 811-5). Accordingly, … HP reasonably could have raised each
        invalidity ground before the PTAB.
 Ex. 28 at 5. HP was thus estopped from relying on a combination of these patents. Id. at 2.

        Accordingly, HP’s invalidity case fails as a matter of law.

        B.      The Court should conclude that the claims were not obvious because HP’s
                obviousness combination is missing three key claim elements.

        HP’s obviousness case was premised on its assertion that all claim elements were

 disclosed in its prior art combination. Ex. 7 (Neikirk direct) 18:17-21 (“When combined all of

 the pieces are there.”); id. at 36:6-11 (“After you’ve combined everything together, all the pieces

 are there”); Ex. 8 at 126:21-24 (“when [the references are] all put together, it … presents every

 single thing that’s disclosed in the ’930 patent”).

        To meet its burden, HP had to present substantial evidence that all claim elements were in

 fact disclosed. See PAR Pharm., Inc. v. TWi Pharm., Inc., 773 F.3d 1186, 1194 (Fed. Cir. 2014)

 (“We first must determine whether TWi carried its burden to prove that all claimed limitations

 are disclosed in the prior art.”). When “none of the prior art references…alone or in

 combination, discloses” an element of the asserted claims, the accused infringer has “failed to

 sustain their burden of proving that the asserted claims are invalid.” Vizio, Inc. v. ITC, 605 F.3d

 1330, 1342-43 (Fed. Cir. 2010); CFMT, Inc. v. Yieldup Int’l Corp., 349 F.3d 1333, 1342 (Fed.

 Cir. 2003) (“no obviousness” where “no combination of the prior art, even if supported by a

 motivation to combine, would disclose all the limitations of the claims.”).

        Accordingly, under controlling law, an invalidity verdict based on an asserted

 combination of prior art must be reversed when an important element of the challenged claim is

 missing from the combination. August Tech. Corp. v. Camtek, Ltd., 655 F.3d 1278, 1290 (Fed.

 Cir. 2011) (“as a matter of law [an asserted combination] would not render the asserted claims


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 obvious” when the combination “does not disclose the claimed strobing and therefore does not

 supply the missing element for purposes of the obviousness analysis.”); Honeywell Int’l, Inc. v.

 U.S., 609 F.3d 1292, 1300-01 (Fed. Cir. 2010) (“Given the failure to prove that the cited

 references disclose element (a)(3), the government has failed to carry its burden of proving

 [obviousness] by clear and convincing evidence”).

         HP failed to introduce sufficient evidence that its references disclosed three important

 elements: a “low level current,” “secondary power source,” and “main power source.”

                  1.     HP’s asserted obviousness combination is missing the important “low
                         level current” element.

                         a.      Chang does not disclose a “low level current.”

         HP’s invalidity expert, Dr. Neikirk, analyzed Chang and “concluded that … Chang … did

 not disclose a low level current.” Ex. 7 at 40:11-16. Network-1’s expert, Dr. Knox, agreed. Ex.

 3 at 107:9-108:25. Thus the undisputed evidence demonstrated that Chang did not teach a low

 level current.

                         b.      The Fisher system and patents do not disclose a “low level
                                 current.”

         Dr. Neikirk analyzed the Fisher system and patents, spoke with Dr. Fisher, and then

 concluded the Fisher system and patents do not disclose a “low level current.” Ex. 7 at 15:6-14,

 15:20-21, 38:25-39:13. Dr. Knox reached the same conclusion. Id. at 129:17-21. It is therefore

 undisputed that the Fisher system and patents do not disclose a “low level current.”

         In its closing, however, HP asserted that Dr. Fisher’s testimony about the “stage[d]

 power-up[]” “detection authentication” that was purportedly part of his system (but not in any of

 his patents) demonstrated a “low current.” Ex. 8 at 131:5-17. That theory fails for three reasons.

         First, as explained above, Dr. Fisher’s purported system was not in public use and,

 therefore, does not qualify as prior art.

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        Second, as explained above, Dr. Fisher’s testimony about his purported staged power up,

 detection, and authentication system lacks any corroboration and, therefore, under controlling

 law cannot be used to support a verdict of obviousness.

        Third, as shown above, both parties’ experts analyzed the Fisher system and patents,

 compared it to the Court’s construction of “low level current,” and concluded that the Fisher

 system and patents did not meet that construction. Dr. Fisher did not provide any contrary

 testimony. Nor could he: he was not designated as an expert and he never purported to have

 studied the Court’s construction or to have applied the construction to his own system or patents.

                         c.     Woodmas does not disclose a “low level current.”

        The Court construed “low level current” as “a non-data-signal current that is sufficient to

 begin start up of the access device but that is not sufficient to sustain the start up.” Ex. 18 at 12.

 Both parties’ experts agreed that Woodmas does not disclose a current that meets that definition.

 Ex. 7 (Neikirk cross) 45:14-46:3 (“Woodmas is not disclosing that low level current as required

 by the Court.”); id. (Knox rebuttal) at 130:20-22 (“The low level current is not taught by

 Woodmas.”); id. at 130:23-131:22.

        Moreover, the jury could not reasonably conclude that the Woodmas current is “sufficient

 to begin start up of the access device” because it is undisputed that the Woodmas current never

 even reaches an access device, much less begins to start up such a device. Ex. 7 (Neikirk cross)

 48:1-49:16 (“[W]e were viewing [camera] 18 as being the remote device …. [T]here’s no current

 that reaches any of the items in box 16 [of] Figure 1 … Current does not reach this camera”); Ex.

 11 at 2:50-52, Fig 1.

        Indeed, Dr. Neikirk admitted, “I could not find that [low level current] element in the art I

 used,” and “I have one missing element and, hence, I cannot conclude that [the ’930 patent] is

 obvious in my analysis because of that one missing element.” Ex. 7 at 50:8-22, 54:7-13. HP’s

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 counsel also admitted that Woodmas “[d]oesn’t necessarily meet Judge Schroeder’s [low level

 current] claim construction.” Ex. 8 at 129:4-5. “Using his [Dr. Neikirk’s] analysis and the way

 he’s applying it [i.e., when he applies the Court’s construction], these patents are valid, yes, they

 are.” Id. at 123:10-12.

        Accordingly, based on the trial record, a “comparison of the properly construed claim to

 the prior art,” Power Mosfet Techs., LLC v. Siemens AG, 378 F.3d 1396, 1406 (Fed. Cir. 2004),

 can only lead to one conclusion: the important “low level current” limitation is missing from the

 asserted combination and the ’930 claims are therefore not obvious as a matter of law.

                        d.      HP’s “Dr. Knox’s construction” argument fails.

        HP argued that the “low level current” limitation is nonetheless found in Woodmas using

 what HP calls “Dr. Knox’s construction.” Here is HP in its closing:

        [H]e had to say, look, I don’t know the element would be met. And if it’s not met, yes,
        it’d be valid. But that’s using Judge Schroeder’s claim construction, not Dr. Knox’s.
        Using Dr. Knox’s, the patent is definitely invalid.”

 Ex. 8 at 123:4-8. The “he” in that argument is HP’s expert Dr. Neikirk. HP was expressly

 admitting that, according to its own expert, when “using Judge Schroeder’s claim construction”

 the patent would “be valid.” Id. But HP is also claiming that, using “Dr. Knox’s construction,”

 the patent is “definitely invalid.” Id. This argument fails for three reasons.

        First, the only construction of “low level current” that matters is “Judge Schroeder’s

 claim construction.” HP’s admission that the patent is valid under this construction is fatal to its

 invalidity case and precludes a conclusion of obviousness.

        Second, if a defendant presents an invalidity analysis that purports to apply plaintiff’s

 infringement theory, the theory must be one that “applied the Court’s claim constructions.”

 Realtime Data, LLC v. Actian Corp., No. 6:15-cv-463-RWS-JDL, Dkt. 491 at 4-7 (E.D. Tex.

 Apr. 3, 2017) (an “invalidity expert [can] apply a patentee’s infringement theories in his or her

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 analysis, provided that these theories rely on the court’s claim construction.”). Conversely, a

 defendant cannot base invalidity on a construction that is materially different from the Court’s

 construction—for example, if it removes a key requirement of the Court’s construction.

        The theory that HP adopted for its invalidity analysis replaced the Court’s definition of

 “low level current” with a current “sufficient to go through the detection circuitry of a PD.” Ex.

 8 at 117:1-12, 129:2-6. This erroneous construction removed two key requirements of the

 Court’s constriction—“non-data signal current” and “current that is sufficient to begin start up.”
                                                                                         8
                 Court’s construction                           Erroneous construction
    “a non-data signal current that is sufficient to    current sufficient to go through the
    begin start up of the access device but that is     detection circuitry of the access device
    not sufficient to sustain the start up”

 As a result, and as HP’s own counsel and expert admitted, this construction is “completely

 different” from the Court’s construction. Ex. 8 at 117:1-12 (“Judge Schroeder’s claim

 construction” is “completely different” from “Dr. Knox’s [purported construction]” that HP

 applied to Woodmas);




        Moreover, were it not for this error (i.e., if the omitted requirements from the Court’s

 construction were applied) then it is undisputed that Woodmas does not disclose a “low level

 current” and that the patent is valid. As HP’s counsel told the jury in closing argument: “[U]sing


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          Ex. 8 (HP closing) 117:1-16 (the “application of low level current” used in Dr.
 Neikirk’s invalidity analysis is “sufficient to go through the detection circuitry of a PD.”); id. at
 129:2-7. As Dr. Neikirk phrased it in his expert report, the erroneous construction is a current
 where “the current is merely used in a detection process, subsequent to which the access device
 may actually start up.” Ex. 29 at ¶227; id. at 104-06; id. at ¶402;



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 Judge Schroeder’s claim construction,” even HP’s validity expert “had to say, look, I don’t know

 the element would be met. And if it’s not met, yes, it’d be valid.” Ex. 8 at 123:4-7.

 Accordingly, HP’s theory did not “compar[e]…the properly construed claim to the prior art,”

 Power Mosfet Techs., LLC v. Siemens AG, 378 F.3d 1396, 1406 (Fed. Cir. 2004), and, therefore,

 cannot establish that Woodmas taught a low level current.

        Third, it was Dr. Neikirk, not Dr. Knox, who came up with this erroneous construction.

 Dr. Knox testified that it is not enough to show that current flows through the detection circuitry

 in an access device for that current to be a “low level current” because such a theory would

 ignore the “sufficient to begin the start up” requirement of the Court’s construction. Ex. 9 at

 68:20-69:6. Dr. Knox further explained that the “sufficient to begin the start up” requirement is

 met when “components actually respond[]” to the current flowing through the detection circuitry,

 id., by “consuming power” and “operating.” Ex. 4 at 62:1-23.




        Because HP failed to provide evidence that the prior art taught a critical requirement,

 “low level current,” HP’s obviousness case fails as a matter of law, and the Court should

 conclude that the asserted claims were not proven obvious.

                2.      HP failed to present evidence that its obviousness combination taught
                        the important “secondary power source” element.

        To present substantial evidence, an expert must “explain in detail how [the] claim


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 element is disclosed in the prior art reference.” Koito Mfg. Co., Ltd. v. Turn-Key-Tech, LLC, 381

 F.3d 1142, 1152 (Fed. Cir. 2004) (internal quotations omitted). For construed terms, the expert

 must explain how the Court’s construction is taught by the prior art. Fresenius USA, Inc. v.

 Baxter Intern., Inc., 582 F.3d 1288, 1300 (Fed. Cir. 2009) (“the district court correctly granted

 JMOL” when defendant’s expert failed to explain how the prior art taught the “stepper motor

 structure” required by the court’s construction). This explanatory expert testimony is required

 “even when the reference has been submitted into evidence before the jury.” Koito, 381 F.3d at

 1152; Fresenius, 582 F.3d at 1300 (holding that a defendant’s “evidentiary burden of proof

 cannot be carried” by merely submitting a technical manual to the jury). This is because it is a

 defendant’s burden “to clearly disclose, discuss, and identify for the jury the supporting evidence

 upon which it [is] relying to prove that the claim limitation was present in the prior art.” Id.

 When the patent and prior art are technically complex, such testimony is essential. Koito, 381

 F.3d at 1152 n.4. (holding that, while an “‘easily understandable’” patent may not require

 detailed explanation, a “technical patent document” does).

        HP failed to submit any testimony explaining how a “secondary power source” is found

 in the prior art. The only mention of this core claim term by HP’s invalidity expert, Dr. Neikirk,

 was in his preliminary statement identifying the “key pieces” that the claim requires: “There’s a

 main power source. Secondary power source. Low level current. Sensing. And controlling.”

 Ex. 7 at 19:10-15. That is it. He did not explain how a “secondary power source” is found in

 any asserted reference. And he did not mention the Court’s construction at all (much less

 explain how it was taught by the prior art). 9 This complete absence of testimony from Dr.


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         Dr. Neikirk did not even make a conclusory assertion that a “secondary power source”
 was found in an asserted reference. And such an assertion would have been inadequate.
 “General and conclusory testimony…does not suffice as substantial evidence of invalidity.”

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 Neikirk stands in stark contrast to the corresponding infringement testimony by Network-1’s

 expert, Dr. Knox, who testified for over twenty pages explaining how the Court’s construction of

 “a secondary power source” was met by HP’s accused products. See Ex. 4 at 24-48. Because

 “the evidentiary burden of proof cannot be carried without clearly identifying the corresponding

 structure in the prior art,” Fresenius USA, Inc. v. Baxter Int’l, Inc., 582 F.3d 1288, 1300 (Fed.

 Cir. 2009), HP’s evidence failed as a matter of law.

        Moreover, a “secondary power source” is not a simple claim term that requires no

 explanation; it is technically complex. It was the most extensively disputed and construed term.

 It was construed and clarified (Ex. 18 at 9-10; Ex. 22), the subject of a Daubert motion (Ex. 27),
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 and addressed by five rounds of briefing and five orders.        The resulting construction of

 “secondary power source” was:

        a source of power connected to provide power between the data node and the
        access device using the data signaling pair; the driving points of the secondary
        power source must be physically separate from the driving points of the main
        power source (a driving point is a point of a power source from which a particular
        power level can be provided for driving a load).

 Ex. 22 at 8. Without explanatory expert testimony, the jury could not identify any “driving

 point” in the prior art or determine if the “driving points of the secondary power source” were

 “physically separate from the driving points of the main power source.” Because HP provided

 no such evidence, HP failed to meet its burden on obviousness and judgment of nonobvious must

 be granted as a matter of law. See Fresenius, 582 F.3d at 1300 (“Because Fresenius failed to

 present any evidence that the required stepper motor structure existed in the prior art, the district

 court correctly granted JMOL.”); Koito, 381 F.3d at 1145 (“we hold that Koito did not present


 Koito, 381 F.3d at 1152; Telemac Cellular Corp. v. Topp Telecom, Inc., 247 F.3d 1316, 1329
 (Fed. Cir. 2001) (“Broad conclusory statements offered by Telemac’s experts are not evidence
 and are not sufficient to establish a genuine issue of material fact.”).
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            Ex. 18; Ex. 23; Ex. 22; Ex. 24; Ex. 27.

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 substantial evidence…to support the jury’s finding of … obviousness.”).

                3.     HP failed to present evidence that its asserted obviousness
                       combination included a “main power source.”

        The claim language sets forth two requirements of a “main power source”: (A) “a main

 power source connected to supply power to the data node,” and (B) “delivering a low level

 current from said main power source to the access device.” ’930 patent, claim 6 at 4:55-56,

 4:60-61. Accordingly, if a system does not have a power source that meets both requirements,

 then that system does not have a “main power source” as required by the claims. HP’s counsel

 and expert repeatedly confirmed this two-fold requirement of a “main power source”:

                12 So there’s one power source has to connect to
                13 supply power to the data node, and it also has to deliver the
                14 low level current. That's what the patent requires.

 Ex. 2 (HP opening) 214:6-16; Ex. 8 (HP closing) 117:22-119:1; Ex. 5 (Davis direct) 12:12-23;

 id. at 59:22-60:6.

        HP never identified a power source in its asserted obviousness combination that meets

 both claim requirements: (A) supplying power to the data node and (B) delivering a low level

 current from that power source to the access device. Instead, the asserted combination has two

 separate power sources—one power source (from Fisher) that (A) supplies power to the data

 node but does not deliver a low level current to the access device, and a separate power source

 (from Woodmas) that (B) delivers a low level current to the access device but does not supply

 power to the data node.

        Power source from Fisher: HP’s invalidity expert, Dr. Neikirk, identified a “DC power

 supply” “in the hub” of Fisher as the “main power source” of the asserted combination. Ex. 7 at

 23:18-21 (Fisher “certainly requires a DC power supply. There’s no other way to get a hub to

 work. So there’s also a main power source in the hub or switch that this access point would have


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 to be connected to.”). Dr. Neikirk testified that this power source in Fisher supplies power to the

 data node. Id. at 26:25-27:5 (“[Y]ou could use the hub’s power supply [in Fisher] to basically

 power everything. … So we have a…main power source.”). But Dr. Neikirk never contended, or

 even suggested, that a low level current is delivered from this power source in the Fisher hub to
                                                         11
 the access device (the Fisher wireless access point).        Indeed, he admitted that he could not find

 a low level current in the Fisher system. Id. at 39:11-13. For delivery of a low level current, Dr.

 Neikirk looked to a separate power source from Woodmas.

        Power source from Woodmas: Dr. Neikirk’s asserted combination included a separate,

 second power source—the “power delivery unit” from Woodmas. Ex. 7 at 35:19-20 (“So we’ll

 take the power delivery unit [from Woodmas] and put it in the hub.”). Dr. Neikirk asserted that

 this second power source delivers a low level current to the access device. See id. at 48:25-49:1

 (“the power delivery unit is supplying the low power signal”); id. at 47:5-6 (“Woodmas

 specifically says it applies low power, yes, from the power delivery unit”). But Dr. Neikirk

 never contended, or suggested, that this second power source from Woodmas (i.e., the “power

 delivery unit”) also supplies power to the data node. Instead, his entire discussion of the “power

 delivery unit” concerns the purported path for sending a detection current to the power reception

 unit and sending operating power to the access device, i.e., a camera in Woodmas, not power to

 any data node (e.g., a switch or hub). Id. at 31:2-33:25.

        Dr. Neikirk never asserted (much less provided substantial evidence of how or why) the

 two power sources in Woodmas and Fisher could be modified to create a single power source

 that performed as claimed by the ’930 patent. Instead, he merely gave conclusory testimony that


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            Dr. Neikirk asserted that the Fisher power supply “powers everything,” including “the
 access device.” Ex. 7 at 25:21-27:1. But he did not identify this as power that delivered a low
 level current and in fact admitted that he could not find a low level current in Fisher.

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 you could “take the [Woodmas] power delivery unit and put it in the [Fisher] hub,” Ex. 7 at

 35:19-20, which results in two separate power supplies performing the two required functions.

        Accordingly, HP’s asserted obviousness combination does not include a “main power

 source” that satisfies the claim requirements. In the words of HP’s own counsel, the asserted

 combination would not practice the claims of the ’930 patent because it “do[es]n’t have one

 power source that does A and B, powers the data node and delivers detection current. …

 [Instead,] [t]here are two power supplies.” Ex. 8 at 117:22-119:1. Because HP provided no

 evidence of this fundamental requirement of the asserted claims, the jury’s invalidity verdict

 must be overturned and judgment of validity granted as a matter of law.

        C.      The Court should conclude that the claims were not obvious because HP
                failed to provide sufficient motivation for the combination.

        “A party seeking to invalidate a patent on obviousness grounds must demonstrate by

 clear and convincing evidence that a skilled artisan would have been motivated to combine the

 teachings of the prior art references to achieve the claimed invention, and that the skilled artisan

 would have had a reasonable expectation of success in doing so.” InTouch Techs., Inc. v. VGO

 Commc’ns, Inc., 751 F.3d 1327, 1347-49 (Fed. Cir. 2014) (internal quotations omitted); Bristol-

 Myers Squibb Co. v. Teva Pharm. USA, Inc., 752 F.3d 967, 973 (Fed. Cir. 2014) (same);

 Innogenetics, N.V. v. Abbott Labs., 512 F.3d 1363, 1373-74 (Fed. Cir. 2008) (“some kind of

 motivation must be shown from some source, so that the jury can understand why a person of

 ordinary skill would have thought of either combining two or more references or modifying one

 to achieve the patented method.”) (internal quotations omitted).

        At trial, HP’s obviousness combination first modified Fisher by adding the hub from

 Chang and then modified the Fisher-Chang combination by inserting the power delivery unit and

 power reception unit from Woodmas. Ex. 7 (Neikirk direct) 34:2-36:5. This combination fails


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 because HP failed to provide clear and convincing evidence of a reason why one of ordinary skill

 in the art would have made the first part of the combination: adding the hub from Chang to

 Fisher.

           The only reason that Dr. Neikirk gave for using the hub from Chang was “one of ordinary

 skill trying to simplify that system…from Fisher…would look to Chang…[because] Chang puts

 everything in a hub. So it’s now simpler and more combined.” Ex. 7 at 34:20-35:6. But Dr.

 Neikirk provided no reasoning or rational underpinning to support this conclusion. The Fisher

 patents already had a hub that included everything within it. Ex. 16 at 4:52-53 (“the power and

 data coupler 110 is included in a network card in the hub 240”). Dr. Neikirk failed to explain

 why or how using the Chang hub with Fisher would be any different than using the Fisher hub

 with Fisher, much less how doing so would “simplify” anything. Because Dr. Neikirk’s

 testimony on the reason to combine Fisher and Chang consisted of mere conclusory statements

 unsupported by “articulated reasoning with some rational underpinning,” HP failed to satisfy its

 burden. InTouch, 751 F.3d at 1351; In re Magnum Oil Tools Int’l, Ltd., 829 F.3d 1364, 1380
                     12
 (Fed. Cir. 2016).

           HP failed to show a legally sufficient motivation to combine for an additional reason—

 the Chang reference expressly taught away from creating the invention. As a matter of law, if a

 reference in a proposed combination expressly taught away from the claimed invention, then the

 asserted combination cannot render the claimed invention obvious. This is because it cannot be

 obvious to combine a reference to create the invention when that reference expressly says not to

 do so. “[R]eferences that teach away cannot serve to create a prima facie case of obviousness.”

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          HP also failed to present any evidence that a skilled artisan “would have perceived a
 reasonable expectation of success in making” the combination of Woodmas with Fisher and
 Chang. Amgen Inc. v. F. Hoffman-La Roche Ltd, 580 F.3d 1340, 1362 (Fed. Cir. 2009). Dr.
 Neikirk did not set forth even a conclusory assertion on this issue.

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 McGinley v. Franklin Sports, Inc., 262 F.3d 1339, 1354 (Fed. Cir. 2001); In re Chapman, 595

 F.3d 1330, 1337 (Fed. Cir. 2010) (“A finding that a reference teaches away can preclude a

 finding that the reference renders a claim obvious.”); In re Fine, 837 F.2d 1071, 1074 (Fed. Cir.

 1988) (“error to find obviousness where references diverge from and teach away from the

 invention at hand”) (internal quotations omitted); Winner Int’l Royalty Corp. v. Wang, 202 F.3d

 1340, 1349-50 (Fed. Cir. 2000) (“if Johnson did in fact teach away from Moore, then that finding

 alone can defeat Wang’s obviousness claim.”); DePuy Spine, Inc. v. Medtronic Sofamor Danek,

 Inc., 567 F.3d 1314, 1327-28 (Fed. Cir. 2009) (holding that because one reference in the asserted

 combination taught away, that combination was not obvious).

        At trial, there was undisputed evidence demonstrating that Chang—a reference in HP’s

 proposed obviousness combination—expressly taught away from the ’930 claims. A reference

 teaches away “when a person of ordinary skill, upon reading the reference, would be discouraged

 from following the path set out in the reference, or would be led in a direction divergent from the

 path that was taken by the applicant.” Depuy Spine, 567 F.3d at 1327 (internal quotation marks

 omitted); ATD Corp. v. Lydall, Inc., 159 F.3d 534, 546 (Fed. Cir. 1998) (reversing a judgment of

 invalidity in part because references “cautioned against compressing the layers in a multilayer

 insulator”). The ’930 claims require delivering both the detection current and operating power

 over the data signaling pair. In relevant part, the ’930 claims require:

        •   a “data signaling pair…arranged to transmit data”;
        •   “delivering a low level current…over said data signaling pair”; and
        •   delivering operating power over that same “data signaling pair”: “supply power…via
            said data signaling pair”
 Ex. 1 at claim 6. At trial, Dr. Knox explained these claim requirements. Ex. 3 at 107:20-108:10;

 Ex. 4 at 124:12:17; id. at 125:4-24.

        Chang’s express teachings discourage a person of ordinary skill from taking this path and

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 lead in a direction divergent from that path. Chang teaches that the detection signal and

 operating power should not be sent over the data signaling pairs and instead should each be sent

 over separate wires. Ex. 15 at 10:3-7; Ex. 3 (Knox direct) 106:7-25. Moreover, Chang

 affirmatively cautions against putting detection signals on the data signaling pair to avoid

 interfering with the data signals: “In order to perform detection that is continuous and does not

 interfere the with the normal transmit and receive, the device presence detector 414 [that

 performs detection] does not connect to the signal lines [the data signaling pair].” Ex. 15 at

 10:3-7. Chang expressly discourages using the data signaling pairs to deliver detection signals

 (on the “data signal lines”) as used in the ’930 claims, stating that if “detection circuitry is also

 coupled directly to the data signal line,” this “may lead to interference or even corruption on the

 communication link when running the detection procedure.” Id. at 2:49-55. By teaching that the

 data signal pairs should not be used to deliver detection signals and power, Chang teaches a path

 that diverges from the requirements of the ’930 claims—that a detection current and operating

 power be delivered on the data signaling pair. Ex. 3 (Knox direct) at 107:20-22 (the ’930 patent

 did not “follow this –this method of using detection and power on spare wires”).

        At trial, HP did not rebut this compelling evidence and testimony of “clear

 discouragement.” In re Ethicon, Inc., 844 F.3d 1344, 1351 (Fed. Cir. 2017). Rather, HP’s

 invalidity expert confirmed these teachings from Chang: “Chang actually used what are called

 spare pairs to do its presence detection and powering.” Ex. 7 at 35:8-10; see Ex. 29 at ¶195

 (“Chang specifically teaches using a pair of wires different from those used for Ethernet data

 transmission to perform remote detection and powering.”) (citing Ex. 15 at 10:3-7).

        Because undisputed evidence demonstrates that Chang expressly taught away from the

 asserted claims, and because “references that teach away cannot serve to create a prima facie

 case of obviousness,” HP failed to show a reason to combine, as a matter of law. McGinley v.

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 Franklin Sports, Inc., 262 F.3d 1339, 1354 (Fed. Cir. 2000).

        D.      The Court should conclude that the claims were not obvious based on
                unusually strong objective evidence.

        “[C]onsideration of the objective evidence presented by the patentee,” “i.e., secondary

 considerations”—including “licenses showing industry respect”—“is a necessary part of the

 obviousness determination.” WMS Gaming Inc. v. International Game Tech., 184 F.3d 1339,

 1359 (Fed. Cir. 1999). “To be clear, a district court must always consider any objective evidence

 of nonobviousness presented in a case.” Transocean Offshore Deepwater Drilling, Inc. v.

 Maersk Contractors USA, Inc., 617 F.3d 1296, 1305 (Fed. Cir. 2010) (emphasis in original).

        When objective evidence of non-obviousness is undisputed, the Court must consider it

 despite a general jury verdict of obviousness. See Newell Companies, Inc. v. Kenney Mfg. Co.,

 864 F.2d 757, 767 (Fed. Cir. 1988) (holding that, for JMOL, “undisputed facts” may be taken as

 true); see Kinetic Concepts, Inc. v. Smith & Nephew, Inc., 688 F.3d 1342, 1356-57 (Fed. Cir.

 2012) (only “factual disputes” are presumed resolved in favor of the verdict).

        In reaching an ultimate legal conclusion on obviousness, the weight to be given an

 objective indicator of non-obviousness is a question of law. See In re Cyclobenzaprine

 Hydrochloride Extended-Release Capsule Pat. Litig., 676 F.3d 1063, 1083 (Fed. Cir. 2012)

 (holding, as a matter of law, that “the most relevant objective considerations, when considered as

 part of the totality of the evidence, support a nonobviousness finding.”). Such evidence can be

 “entitled to such weight that it may be decisive” on the question of obviousness. Ashland Oil,

 Inc. v. Delta Resins & Refractories, Inc., 776 F.2d 281, 306 (Fed. Cir. 1985).

        Network-1 submitted undisputed evidence that, of the ten largest players in the

 marketplace who account for 95% of worldwide sales, all of them (except HP) have licensed the

 ’930 patent, and did so for substantial sums of money far exceeding any costs of litigation,


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 collectively well over $100 million. Ex. 7 (Mills direct) 122:6-20; id. (Knox rebuttal) 131:23-

 133:6. 13 Accordingly, Network-1 presented compelling objective evidence that the industry

 viewed the ’930 patent as valuable and valid. Moreover, this evidence was unrebutted. HP did

 not cross-examine Network-1’s expert or elicit any rebuttal testimony from its own expert on the

 issue.

          Appropriately weighing such objective evidence requires considering “[t]he rationale for

 giving weight to secondary considerations,” i.e., “that they provide objective evidence of how

 the patented device is viewed in the marketplace, by those directly interested in the

 product.” Demaco Corp. v. F. Von Langsdorff Licensing Ltd., 851 F.2d 1387, 1391 (Fed. Cir.

 1988). That is, the greatest weight should be given to objective evidence that demonstrates that

 competitors in the marketplace (objective sources) viewed the patent favorably (i.e., as a

 valuable and non-obvious invention). And the strongest possible objective evidence would

 consist of every major market participant agreeing to pay royalties that substantially exceeded

 any potential litigation costs.

          That is precisely the circumstance here. An entire industry of sophisticated technology

 companies—resistant to paying licensing fees for invalid patents and experienced in challenging

 patents—does not pay more than $100 million to license an obvious invention. This objective

 evidence is thus “the most pertinent, probative, and revealing evidence available to the decision

 maker in reaching a conclusion on the obviousness/nonobviousness issue.” Ashland Oil, Inc. v.

 Delta Resins & Refractories, Inc., 776 F.2d 281, 306 (Fed. Cir. 1985). It is “the most probative

 and cogent evidence of nonobviousness in the record.” Ortho-McNeil Pharm., Inc. v. Mylan


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           See Ex. 26 at 8-9, 11 (order rejecting HP argument that Network-1 licenses entered
 only “to avoid further litigation” and instead finding agreements “probative of the economic
 value of the patented technology in the marketplace”).

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 Labs., Inc., 520 F.3d 1358, 1365 (Fed. Cir. 2008). Given the unusually powerful licensing

 evidence in this case, the Court should conclude that this objective factor is “decisive” and leads

 to an ultimate conclusion of nonobviousness. Ashland Oil, 776 F.2d at 306 (Fed. Cir. 1985).

         E.      The Court should conclude that the asserted claims were not obvious.

         Obviousness is ultimately a question of law for the Court. Richardson-Vicks Inc. v.

 Upjohn Co., 122 F.3d 1476, 1479 (Fed. Cir. 1997). To answer this question, the Court accepts

 the jury’s implied factual findings that are supported by substantial evidence. Fresenius USA,

 Inc. v. Baxter Int’l, Inc., 582 F.3d 1288, 1294 (Fed. Cir. 2009). But if HP failed to provide

 legally sufficient evidence for facts essential to its obviousness theory, this is fatal. See id. at

 1299 (affirming JMOL because “[defendant] failed to prove that [an important claim limitation]

 was present in the prior art”). The Court must also consider all “probative admissions” obtained

 from HP’s expert and all “undisputed facts” proven by Network-1. See Newell Companies, Inc.

 v. Kenney Mfg. Co., 864 F.2d 757, 767 (Fed. Cir. 1988). The Court should conclude that the

 asserted claims of the ’930 patent were not obvious.

         HP failed to provide sufficient evidence that the Fisher system was prior art. This

 eliminates an essential component of HP’s obviousness combination. Moreover, the rest of the

 references consists of patents that HP was estopped from asserting.

         In addition, HP failed to provide sufficient evidence that HP’s asserted prior art

 combination disclosed important elements of the claims: “a low level current,” “secondary power

 source,” and “main power source.” The absence of any one of these elements compels the

 conclusion that the claims were not obvious as a matter of law.

         In addition, HP provided insufficient evidence that one of ordinary skill would be

 motivated to combine HP’s asserted references to create the claimed invention. Moreover,

 because one of the references in HP’s combination (Chang) expressly taught not to perform an

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 important part of the claimed invention, one of ordinary skill would not have been motivated to

 make the asserted combination.

        Finally, undisputed evidence established a powerful objective indicator of non-

 obviousness: effectively the entire industry (minus HP) licensed the ’930 patent for over $100

 million.

        Each of these reasons independently compels the conclusion that the asserted claims were

 not obvious. The Court should rule that the claims of the ’930 patent were not obvious and enter

 judgment as a matter of law that HP failed to prove the ’930 patent invalid.

 III.   The Court should also conditionally grant a new trial on validity.

        In addition to ruling as a matter of law that the claims were not obvious and granting

 JMOL on the issue of invalidity, the Court should also conditionally grant a new trial on validity.

 Fed. R. Civ. P. 50 (“If the court grants a renewed motion for judgment as a matter of law, it must

 also conditionally rule on any motion for a new trial”).

        A.         The Court should grant a new trial because the jury’s verdict of obviousness
                   is against the great weight of the evidence.

            A court should grant a new trial when the jury’s verdict is “against the great weight of

 the evidence.” Shows v. Jamison Bedding, Inc., 671 F.2d 927, 931 (5th Cir. 1982). In deciding to

 grant a new trial, the Court “need not take the view of the evidence most favorable to the verdict

 winner, but may weigh the evidence.” Id. at 930. “This standard, of course, is lower than that

 for a directed verdict or a judgment notwithstanding the verdict,” and a verdict can be against the

 “great weight of the evidence, and thus justify a new trial, even if there is substantial evidence to

 support it.” Id. (internal quotations omitted).

        Here, the jury’s verdict of obviousness is against the great weight of the evidence. As

 shown above, the jury’s verdict is: (1) against the weight of the evidence that the Fisher system


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 was not prior art; (2) against the weight of the evidence that the prior art is missing a “low level

 current”; (3) against the weight of the evidence that a “secondary power source” was not shown

 in the asserted combination; (4) against the weight of the evidence that a “main power source”

 was not shown in the asserted combination; (5) against the weight of the evidence that there was

 no motivation to combine HP’s references to create the invention and that one of the references

 actually taught away from the claims; and (6) against the weight of a powerful objective

 indicator of non-obviousness. This requires a new trial on validity.

        B.      A new trial should also be granted because Fisher’s highly prejudicial
                testimony should have been excluded.

        A new trial is also required because Mr. Fisher’s testimony should not have been

 admitted. A court should “grant a new trial when the jury has inadvertently considered

 inadmissible evidence, and the evidence was prejudicial to the losing party.” Carson v. Polley,

 689 F.2d 562, 570 (5th Cir. 1982). Uncorroborated testimony from an alleged prior art inventor,

 used to try to invalidate the patent, is inadmissible. Texas Digital Sys., Inc. v. Telegenix, Inc.,

 308 F.3d 1193, 1217 (Fed. Cir. 2002) (affirming decision to exclude the uncorroborated

 testimony of an alleged prior inventor when there was no corroboration of public use). This is

 because, with no corroboration, the testimony is not credible and therefore has no probative

 value; and this zero probative value is substantially outweighed by the risk of unfair prejudice

 (e.g., the danger that the jury will wrongly credit the testimony). Finnigan Corp. v. Int’l. Trade

 Comm’n., 180 F.3d 1354, 1368 (Fed. Cir. 1999) (holding that uncorroborated testimony is “open

 to grave suspicion”) (internal quotes omitted); Texas Digital, 308 F.3d at 1217.

        At trial, Dr. Fisher’s testimony was admitted over Network-1’s objection. Ex. 6 at 8:2-

 14. This was prejudicial because it was powerful to the jury (presented by a charismatic,

 seemingly disinterested witness who purported to describe his system in detail) and made the


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 difference between winning and losing (it purported to solve a fatal problem in HP’s invalidity

 case—the missing “low level current”). Ex. 8 at 131:5-18. Moreover, HP heavily emphasized

 Mr. Fisher’s testimony—mentioning “Fisher” 248 times before the jury. Because the jury

 “considered [this] inadmissible evidence, and the evidence was prejudicial to [Network-1],” a

 new trial should be granted on validity. Carson, 689 F.2d at 570.

        C.      A new trial should also be granted because HP made improper arguments in
                its closing that infected the jury’s findings.

        The Court should grant a new trial on validity for the additional reason that HP made

 improper remarks in its closing that prejudiced Network-1 and infected the jury’s findings.

 “[I]mproper remarks become the basis for granting a new trial when the trial judge, with the

 benefit of his or her first hand knowledge of the entire proceedings, believes that the remarks

 infected the deliberations and conclusions of the jury.” Guar. Serv. Corp. v. Am. Emp’s Ins. Co.,

 893 F.2d 725, 729 (5th Cir. 1990). “It is a particularly indefensible tactic to use closing

 arguments to bring before the jury damaging facts not in evidence and never established.” Alaniz

 v. Zamora-Quezada, 591 F.3d 761, 778 (5th Cir. 2009) (internal quotes omitted). “Where placing

 material facts not in evidence before the jury in final argument substantially prejudices a party,

 reversal is required.” Edwards v. Sears, Roebuck & Co., 512 F.2d 276, 284 (5th Cir. 1975).

        During closing argument, HP’s counsel made two material statements regarding the

 validity of the ’930 patent that had no support in evidence. Because (as demonstrated above) the

 jury could not have properly found the ’930 claims invalid based on the actual evidence that HP

 presented at trial, it is highly likely that HP’s improper statements infected the jury’s findings.

 Accordingly, a new trial on validity should be granted.

                1.      HP improperly asserted in closing that Cummings disclosed “a low
                        level current.”

        HP’s expert relied exclusively on Woodmas for the “low level current” element. Ex. 7 at

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 39:11-13; id. at 40:11-13. And on cross-examination, HP’s expert admitted that “Woodmas is

 not disclosing that low level current as required by the Court.” Id. at 45:14-46:3. Faced with

 this admission, HP came up with a new invalidity theory in closing: that a different reference,

 Cummings, disclosed the “low level current” limitation:

                Page 131
                16         So there’s so much evidence of this low current
                17 going to detection circuitry. Who else do we have? We’ve
                18 got –
                19         I’m sorry, Larry.
                20         With respect to the Cummings patent – and you’ll
                21 have the Cummings patent before you. It’s DX146. This is
                22 another patent that’s claiming to have PoE detection as well.
                23 It’s from April 1995, way before the – the ‘930 patent.
                24 It’s detecting – it’s detecting the connection of such
                25 equipment low current power is provided to each of the
                Page 132
                 1 current loops. You’ll have this. It’s DX146.

 Ex. 8 at 131:16-132:1.

        This assertion was highly improper. HP did not disclose Cummings in its Invalidity

 Contentions or in its Final Election of Prior Art and therefore was barred from asserting

 invalidity based on Cummings. Ex. 19; Ex. 25. And HP did not present any evidence that

 Cummings satisfied the Court’s definition of “low level current.” Cummings was not even
                                                 14
 mentioned by HP’s invalidity expert at trial.

        Moreover, this assertion likely infected the jury’s invalidity verdict.

        First, Cummings contains the phrase “low current power,” which sounds similar to “low

 level current,” even though there is no evidence that the Cummings current would meet the


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            The only mention of Cummings at trial was by HP’s non-infringement expert, in
 asserting that the “low level current” detection method of the ’930 patent was a minor
 improvement over other detection methods in the prior art. Ex. 5 at 16:8-17:14 (compared to
 Cummings and other background art, the ’930 patent contributed a “different way of performing
 the detection step” using a “low level current.”)

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 Court’s definition of “low level current.” HP knew that the jury would likely be confused by the

 similarity between these words, and emphasized that similarity in its remarks in closing.

        Second, HP’s improper assertion that Cummings taught a “low level current” could not

 be adequately rebutted by Network-1 (and was therefore likely to be believed by the jury)

 because Network-1 did not have any warning that it should elicit testimony on Cummings

 (because HP had never before disclosed this theory).

        Third, HP’s improper assertion would seem crucial to the jury because it purported to

 solve a fatal problem with HP’s invalidity case—HP’s own expert admitted that Woodmas did

 not disclose a “low level current.” Indeed, this is how HP introduced its Cummings argument in

 closing. Ex. 8 at 129:16-18 (“Woodmas doesn’t disclose [a low level current] … [W]e definitely

 think that it does, but what else was out there?”).

        HP’s argument was not marginally improper. It violated rules and orders forbidding

 sandbagging. It was highly misleading, with no foundation in truth. And it was an unrebuttable

 assertion on a crucial issue. Because HP asserted in closing “damaging facts not in evidence and

 never established…without any proper basis whatever,” that were “grossly improper” and

 “clearly prejudicial,” a new trial should be granted. Edwards, 512 F.2d at 284-85.

                2.      HP improperly asserted in closing that Mr. Godici believed that the
                        ’930 patent was invalid based on extensive prior art and evidence.

        During his testimony, Mr. Godici, who HP called to “discuss Patent Office procedures”

 (Ex. 2 (voir dire) 22:7-23:14; id. (HP opening) at 49:20-23), was careful not to offer any

 opinions regarding the validity of the ’930 patent. His expert report did not include any opinions

 on whether any reference was prior art or disclosed any aspect of the claims, and Mr. Godici did

 not present any such opinions at trial.

        In its closing argument, however, HP asserted that Mr. Godici had said (in a conversation


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 that took place before trial) that he had never before seen so much prior art and evidence

 showing that a patent was invalid:

        Page 123
        14        Look at all the prior art. You know when Nick
        15 Godici, when we were talking about coming and him
        16 testifying, he could not believe how much prior art and how
        17 much evidence this case had with respect to this patent being
        18 invalid…
        …
        Page 132
        25 Godici says: I’ve never seen this much prior art in any case
        Page 133
        1   before.

 Ex. 8 at 123:14-18, 132:25-133:1.

        There is no evidence in the record to support these assertions. Mr. Godici did not testify

 that he had “never seen this much prior art,” that he “could not believe how much prior art”

 existed, or about “how much evidence this case had with respect to this patent being invalid.”

 These fabricated assertions were “grossly improper and clearly prejudicial.” Edwards, 512 F.2d

 at 284-85.

        Moreover, these improper assertions likely infected the jury deliberations and validity

 conclusion. Backed by Mr. Godici’s distinguished Patent Office credentials as “the former

 chairman of the United States Patent and Trademark Office” (Ex. 2 (voir dire) 49:20-23), they

 likely had a significant impact on the jury. Indeed, that is the very reason HP presented that

 argument: HP knew it would be persuasive to the jury that the former chairman of the Patent

 Office had never before seen so much prior art and evidence of invalidity. Because HP asserted

 damaging, made-up evidence on invalidity during its closing argument, a new trial is required.

 Edwards, 512 F.2d at 285 (reversal is required when a defendant injects damaging, made-up

 testimony “into jury argument without any proper basis”).



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 IV.    Conclusion.

        The Court should rule that HP failed to prove that the claims of the ’930 patent were

 obvious and should grant the motion for judgment of validity as a matter of law on all grounds.

 The Court should also conditionally grant the motion for new trial on validity on all grounds.



 Date: February 2, 2018                       Respectfully submitted,

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